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 8

 9                            UNITED STATES DISTRICT COURT
10            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

11   CRNOGORSKA PLOVIDBA A.D.
     KOTOR,                                          Case No. 2:24-cv-7601-AB-AGR
12

13           Plaintiff,                              IN ADMIRALTY, Fed. R. Civ. P. 9(h)

14     vs.
                                                     EX PARTE APPLICATION:
15                                                    FOR ORDER DIRECTING THE
     GLOBAL AMERICAN TRANSPORT                        CLERK TO ISSUE MARITIME
16   LLC,                                             ATTACHMENT AND
             Defendant,                               GARNISHMENT WRITS
17
                                                      PURSUANT TO ORDER DATED
18   and                                              SEPTEMBER 20, 2024 [ECF 22]
19
     INMOTION HOSTING, INC.; BANK
20   OF AMERICA, N.A.,
21
             Garnishees.
22

23      Plaintiff Crnogorska Plovidba A.D. Kotor (“Kotor”) applies ex parte for this
24
     Court to further order and direct the Clerk to issue the maritime attachment and
25
     garnishment writs for the property of Defendant Global American Transport LLC,
26
     held or controlled by garnishees Inmotion Hosting, Inc. and Bank of America,
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     N.A. within this District, as this Court ordered on September 20, 2024 [ECF 22].
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                                                    1
               Ex Parte Application for Order Directing Issuance of Admiralty Rule B Writs
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       Waiver of notice for this Application is warranted under L.R. 7-19.2 for the
 1   same reasons supporting Kotor’s initial application for the writs and its
 2   application for expedited review [ECF 6 and 18, respectively], including the
 3   intangible nature of the property sought to be attached and garnished, as
 4   detailed in the Verified Complaint (bank accounts and other intangible property),
 5   which can be quickly removed from this District before process of maritime
 6   attachment and garnishment issues and is executed.
 7      This Application is based on the Court’s September 20, 2024 Order [ECF 22],
 8   the attached memorandum of points and authorities, the proposed order and
 9   proposed Process of Maritime Attachment and Garnishment (writs) attached as
10   Exhibits A and B thereto, the relevant pleadings, documents and matters of
11   which the Court may take judicial notice, and such other matters which may
12   properly come before this Court
13   Date: September 25, 2024                   Respectfully submitted,
14
                                                /s/ Neil B. Klein
15
                                                Neil B. Klein
16                                              Maria del Rocio Ashby
                                                McKasson & Klein LLP
17                                              Attorneys for Plaintiff Crnogorska
18                                              Plovidba A.D. Koto

19
                                                /s/ J. Stephen Simms
20
                                                J. Stephen Simms
21                                              Simms Showers LLP
22
                                                201 International Circle
23                                              Baltimore, Maryland 21030
                                                443-290-8704
24

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             Ex Parte Application for Order Directing Issuance of Admiralty Rule B Writs
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                                            jssims@simmsshowers.com
                                            [Pro hac vice application pending]
 1                                POINTS AND AUTHORITIES
 2        Kotor applies ex parte for this Court to further order and direct the Clerk to issue
 3   the maritime attachment and garnishment writs as this Court approved and ordered
 4   on September 20, 2024 (ECF 22).
 5        Good cause exists for the relief requested:
 6        First, the Court’s order at ECF 22 provides:
 7
             ORDERED, that the Clerk of this Court is authorized to issue pursuant to
 8           Supplemental Rule B, as detailed in the Verified Complaint, Process of
             Maritime Attachment and Garnishment…
 9

10        Second, undersigned counsel for Kotor has contacted the Clerk’s office
11   concerning the writs this Court ordered the Clerk to issue in Order dated Friday,
12   September 20, 2024. On Tuesday, September 24, 2024, the Clerk’s Office directed
13   counsel to inquire and return to this Court concerning issuance of the writs,
14   notwithstanding this Court’s Order (counsel inquired with the Court by email on the
15   same day). On Wednesday morning, September 25, 2024, the Clerk’s office
16   indicated the proposed writs were routed to the appropriate personnel for issuance
17   by end of day on September 25th, but as of 4:00 p.m. the writs have not been issued.
18        Third, delay in issuance of the writs increases the likelihood that the accounts
19   which Kotor seeks to attach/garnish can or will be removed from the custody of
20   garnishees, thereby prejudicing Kotor.
21        Kotor therefore respectfully requests this Court to further order and direct the
22   Clerk to issue the writs without further delay. A further copy of the proposed writs
23   filed as ECF 6-2 and 6-3 (submitted with Kotor’s initial application filed on
24   September 5, 2024 [ECF 6]) are attached to the proposed order on this Application
26
25   as Exhibits A and B respectively.
27
     //
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               Ex Parte Application for Order Directing Issuance of Admiralty Rule B Writs
Case 2:24-cv-07601-AB-AGR      Document 24       Filed 09/25/24      Page 4 of 4 Page ID
                                     #:109



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     //
 1   Date: September 25, 2024                   Respectfully submitted,
 2
                                                /s/ Neil B. Klein
 3
                                                Neil B. Klein
 4                                              Maria del Rocio Ashby
                                                McKasson & Klein LLP
 5                                              Attorneys for Plaintiff Crnogorska
 6                                              Plovidba A.D. Koto

 7
                                                /s/ J. Stephen Simms
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 8
                                                J. Stephen Simms
11
 9                                              Simms Showers LLP
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13                                              443-290-8704
                                                jssims@simmsshowers.com
14                                              [Pro hac vice application pending]
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             Ex Parte Application for Order Directing Issuance of Admiralty Rule B Writs
